 Case 18-11379        Doc 26    Filed 02/14/19     Entered 02/14/19 14:42:44     Page 1 of 1



                         UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF LOUISIANA


IN RE:

DONNA FAYE WATTS                                             CASE NUMBER: 18-11379
MICHAEL DAVIS WATTS, SR.

         DEBTORS                                             CHAPTER 7


                                             ORDER

         Considering the Motion to Lift Stay (P-16) filed on behalf of Santander Consumer USA

Inc. dba Chrysler Capital, the lack of opposition thereto, and applicable law;

         IT IS ORDERED that the automatic stay is lifted in favor of Santander Consumer USA Inc.

dba Chrysler Capital as to the 2014 Toyota Tacoma bearing Manufacturer's Serial Number

5TFJU4GN7EX063189.

         Baton Rouge, Louisiana, February 13, 2019.

                                   s/ Douglas D. Dodd
                                  DOUGLAS D. DODD
                          UNITED STATES BANKRUPTCY JUDGE
